This court dismissed an appeal as to one A.G. Powers for the reason that he had died subsequent to the entry of judgment in the case and prior to the taking of the appeal. Powers et al v. Standard Oil Co., 62 S.D. 33, 251 N.W. 187. The administrators of the estate of A.G. Powers, deceased, then applied to the circuit court of Butte county for an order substituting them as parties to the action, and the court granted the application. This is an attempted appeal by such administrators. In an original proceeding in certiorari instituted by the respondent to review the order of substitution, this court held that the circuit court was without jurisdiction to enter such order. Standard Oil Co. v. McNenny, 62 S.D. 277, 252 N.W. 841.
The purported appeal therefore, from the judgment and order denying motion for new trial is dismissed.